     Case: 1:20-cv-05874 Document #: 1 Filed: 10/02/20 Page 1 of 5 PageID #:1




                 IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Jennifer Oh                         )     Case No.
                                           )
                                           )
      Plaintiff                            )     COMPLAINT
                                           )
                                           )
      v.                                   )
                                           )
Radius Global Solutions LLC                )
500 North Franklin Turnpike, Suite 200     )
Ramsey, NJ 07446                           )
                                           )
                                           )     Jury Demand Requested
                                           )
                                           )
                                           )
      Defendant                            )
______________________________________________________________________
                                       COMPLAINT

 Now comes Plaintiff, by and through her attorneys, and, for her Complaint alleges as
                                      follows:

      1.    Plaintiff, Jennifer Oh, brings this action to secure redress from unlawful
            collection practices engaged in by Defendant, Radius Global Solutions
            LLC. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15
            U.S.C. Section 1692 et seq. (“FDCPA”).
      2.    The Seventh Circuit Court of Appeals stated in Miller v. McCalla, Raymer,
            Padrick, Cobb, Nichols & Carlk, LLC., 214 F.3d 872, 875 (7th Cir. 2000),
            that the FDCPA requires a debt collector to state “the amount of the debt”
            that they are trying to collect.
      3.    The Court in Miller spelled out safe harbor language for collecting debts
            that are accuring interest or other fees after the date of the initial dunning
            letter. Id.
      4.    Following Miller, the Seventh Circuit Court of Appeals stated in Chuway v.
            Nat. Action Services, 362 F. 3d 944 (7th Cir. 2004), stated that if a Debt
            Collector is “trying to collect the listed balance plus the interest running on
Case: 1:20-cv-05874 Document #: 1 Filed: 10/02/20 Page 2 of 5 PageID #:2




       it or other charges, he should use the safe harbor language of Miller: As of
       the date of this letter, you owe $___[the exact amount due]. Because of
       interest, late charges, and other charges that may vary from day to day,
       the amount due on the day you pay may be greater. Hence, if you pay the
       amount shown above, an adjustment may be necessary after we receive
       your check, in which event we will inform you before depositing the check
       for collection For further information, write the undersigned or call 1-800-
       [phone number].” Id.
5.     The FDCPA broadly prohibits any false, misleading or deceptive threats in
       connection with the collection of a debt 15 U.S.C. Section 1692e.
6.     A debt collection may not imply outcomes that are not legally able to come
       to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
7.     The Seventh Circuit has stated that "[w]hen language in a debt collection
       letter can reasonably be interpreted to imply that the debt collector will
       take action it has no intention or ability to undertake, the debt collector that
       fails to clarify that ambiguity does so at its peril." Lox v. CDA, Ltd., 689
       F.3d 818, 825 (7th Cir. 2012) (citing Gonzales v. Arrow Financial
       Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
8.     In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-1979)
       (N.D.IL 2016), the Court stated “literally true conditional language in a
       dunning letter can be deceptive if the action suggested is legally
       prohibited.” Id.
9.     The Sixth Circuit Court of Appeals stated “[I]f Plaintiff can show that
       interest or charges could never accrue and therefore the balance owed is
       truly fixed, then his claim should be allowed to go forward to determine if,
       under those circumstances, Defendants’ letter was threatening or
       materially misleading.” Walker v. Shermeta, Adams, Von Allment, PC 623
       F. App’x 764, 768 (6th Cir. 2015).
10.    Recently, the Seventh Circuit Court of Appeals stated that the “safe
       harbor” language given in Miller v. McCalla, Raymer Padrick, Cobb,
       Nichols, & Clark, LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to
Case: 1:20-cv-05874 Document #: 1 Filed: 10/02/20 Page 3 of 5 PageID #:3




         situations that can not legally come to pass. Recently, the Seventh Circuit
         Court of Appeals weighed into the statement in paragraph 24 that it is not
         a protection to use this language when an outcome is being suggested
         that is impossible to come to pass. Boucher v. Fin. Sys. Of Green Bay,
         Inc., No. 17-2308, (7th Cir., 2018).
11.      In the same Opinion, the Seventh Circuit Court of Appeals stated that
         Debt Collectors must tailor boiler plate language to avoid ambiguity. Id. at
         371.
12.      Moreover, the Court in Boucher stated that a Debt Collector is not entitled
         to safe harbor language if it provides inaccurate language. Spuhler vs.
         State Collection Services, Inc., 18-cv-01149, (E.D. Wis. 2018).
13.      It has been held to be “[I]mpermissible for a creditor to make a “may”
         statement about something that is illegal or impossible.” Heredia v.
         Capital Mgmt Servs., L.P., 942 F.3d 811 (7th Cir. 2019)

                        JURISDICTION AND VENUE
14.      This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
         1367; and 15 U.S.C. section 1692(d).
15.      Venue is proper because a substantial part of the events giving rise to this
         claim occurred in this District.

                        STANDING AND INJURY

         15.Plaintiff has suffered an injury in fact that is traceable to Defendant's
         conduct and that is likely to be redressed by a favorable decision in this
         matter.

16. Specifically, Plaintiff suffered a concrete informational injury as a result of
      Defendant's failure to provide truthful information in connection with its
      attempt to collect an alleged debt from Plaintiff.
17. The Plaintiff has suffered and continues to suffer actual damages as a result
      of the Defendant’s unlawful conduct.
Case: 1:20-cv-05874 Document #: 1 Filed: 10/02/20 Page 4 of 5 PageID #:4




                                       PARTIES
18. Plaintiff incurred an obligation to pay money, the primary purpose of which
   was for personal, family, or household uses (the “Debt”).
19. Plaintiff is a resident of the State of Illinois.

20. Defendant ("Radius Global Solutions LLC. "), is a New Jersey business entity
    with an address of 500 North Franklin Turnpike, Suite 200 Ramsey, NJ 07446
    operating as a collection agency, and is a "debt collector" as the term is
    defined by 15 U.S.C. Section 1692a(6).

21. Unless otherwise stated herein, the term “Defendant” shall refer to Radius..

22. Defendant uses instruments of interstate commerce for its principal purpose
   of business, which is the collection of debts.
23. At all relevant times, Defendant owned the Debt or was retained to collect the
   Debt.


24. The Debt arose from services provided by the Creditor which were primarily
   for family, personal or household purposes and which meets the definition of
   a “debt” under 15 U.S.C. Section 1692(a)(5)


                FACTS APPLICABLE TO ALL COUNTS
25. Plaintiff received an initial collection letter from Defendant on or about
   December 27, 2019.
26. Said letter states that the Total Balance is $2197.90.” See Exhibit A.
27. Below that, said letter states “[A]s of the date of this letter, you owe
   $2,197.90, Because of interest, late charges and other charges that may vary
   from day to day, the amount due on the day you pay may be greater.” See
   Exhibit A.
                     Outcomes that are not Possible
28. As the attached sample agreement that Radius and Plaintiff would have
   agreed to shows, there are no “other charges” that can vary day to day.
Case: 1:20-cv-05874 Document #: 1 Filed: 10/02/20 Page 5 of 5 PageID #:5




29. There is no possibility of any “other charges” for said debt. See Exhibit B
30. Neither the agreement between Plaintiff and the Creditor allows for such fee,
      nor under applicable law can their be any fee. See Exhibit B
31. Defendant is suggesting and/or implying outcomes that can not legally come
      to pass.
                       Violations of the FDCPA
32. Defendant violated 15 U.S.C. Section 1692e by implying outcomes that can
      not legally come to pass with “other fees” that may be with the debt.


                                      PRAYER FOR RELIEF
33.      Plaintiff demands the following relief:
         WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
         against Defendant for:
                      (1) Statutory damages;

                       (2) Attorney fees, litigation expenses and costs of suit; and

                       (3) Such other and further relief as the Court deems proper.

                                              JURY DEMAND
         (1) Plaintiff demands a trial by jury.
                                                        Respectfully submitted,
                                                   /s/ John Carlin__________________
                                                     John P. Carlin #6277222
                                                     Suburban Legal Group, PC
                                                     1305 Remington Rd., Ste. C
                                                     Schaumburg, IL 60173
                                                     jcarlin@suburbanlegalgroup.com
                                                     Attorney for Plaintiff
